  Case 20-10145-pmm         Doc 32      Filed 07/16/20 Entered 07/16/20 16:47:56         Desc Main
                                       Document      Page 1 of 1



                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Tara L. Snyder
                             Debtor(s)
                                                                            CHAPTER 13
PENNSYLVANIA HOUSING FINANCE AGENCY,
its successors and/or assigns
                              Movant
                 vs.
                                                                          NO. 20-10145 PMM
Tara L. Snyder
                             Debtor(s)

Scott Waterman
                             Trustee


                                   PRAECIPE TO WITHDRAW

TO THE CLERK OF THE BANKRUPTCY COURT:
   Kindly withdraw the Objection to Confirmation of PENNSYLVANIA HOUSING FINANCE
AGENCY, which was filed with the Court on or about May 13, 2020, docket number 25.
                                                Respectfully submitted,

                                            By: /s/ Rebecca A. Solarz, Esquire
                                                 Rebecca A. Solarz, Esquire
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July 16, 2020
